IN THE UNITED STATES DISTRICT COURT fe

 

FOR THE MIDDLE DISTRICT OF TENNESSEE D . ff
NASHVILLE DIVISION . °
STEVEN CHRISTOPHER KNAPP )
Plaintiff, ) 2 PS
Vv. ) ~~ Dy
) | “a
METROPOLITAN GOVERNMENT OF NASHVILLE & )
DAVIDSON COUNTY, et al., ) JURY DEMAND
)
Defendants. )

 

MOTION FOR ELECTRONIC FILING ACCESS

 

COMES NOW pro se Plaintiff, STEVEN CHRISTOPHER KNAPP, to respectfully
submit before the Court this ex parte motion seeking access to the Court’s electronic document
filing systems.

Pursuant to this Court’s Administrative Order 167-1 and this Court’s Amended
Practices and Procedures for Electronic Case Filing, per Procedure #7, Plaintiff requests
permission to register as a “Filing User’ of the Court’s CM/ECF Electronic Filing System with
the knowledge, understanding, and acknowledgement of the effect of an electronic filing, with
respect to the Federal Rules of Civil Procedure, the Local Rules, and parties to the action without
CM/ECF access and subject to traditional service of motions and accompanying memorandums

of law.
Pursuant to Local Rule 7.01 (a)(2), as this motion is unconcerned with matters of law,

no memorandum of law will follow. Thank you for considering my request.

Respectfully submitted,

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pro se Plaintiff

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